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                          IN THE UNITED STATES DISTRICT COURT
                                  DISTRICT OF COLUMBIA


    CONRAD SMITH, et al.,

                       Plaintiffs,
                                                    No. 1:21-cv-02265-APM
              v.

    DONALD J. TRUMP, et al.,

                        Defendants.



                                     JOINT CASE STATUS REPORT

         Pursuant to the Court’s February 11, 2025 Minute Entry, Plaintiffs Conrad Smith, Danny

McElroy, Governor Latson, Melissa Marshall, Michael Fortune, Jason DeRoche, and Reginald

Cleveland (together, “Plaintiffs”), and Defendants Thomas Caldwell, Donald. J. Trump For Pres-

ident, Inc., Make America Great Again PAC, Henry “Enrique” Tarrio, Joseph Biggs, and Zachary

Rehl 1 submit this Joint Case Status Report regarding the status of discovery since the February 11,

2025 status conference.

I.       Party Discovery

         A.        Plaintiffs’ Discovery Requests

         Plaintiffs and Defendants Donald J. Trump For President, Inc. and Make America Great

Again PAC (the “Campaign Entity Defendants”) reached impasse over discovery negotiations and

appeared before the Court on November 26, 2024 for a discovery conference. The Court ordered

the Campaign Entity Defendants to (1) run existing search terms over new custodians Plaintiffs



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  Plaintiffs sent a draft of this report to all appearing Defendants. Defendants Felipe Antonio Mar-
tinez, Derek Kinnison, Ethan Nordean, Erik Scott Warner, Alan Hostetter, Ronald Mele, Kelly
Meggs, Dominic J. Pezzola, and Stewart Rhodes did not contribute to this report.
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requested the Campaign Entity Defendants to add to their search parameters and produce respon-

sive documents, (2) provide Plaintiffs with a hit count and cost estimate for the new proposed

search terms that Plaintiffs requested the Campaign Entity Defendants add to their search param-

eters, (3) produce invoices found in the accounts payable inbox referenced in the deposition of

Justin Clark that are responsive to Plaintiffs’ document production requests, and (4) justify the

privilege assertions made in their privilege log accompanying their document productions, includ-

ing as to anyone identified in Plaintiffs’ Interrogatory No. 6. ECF No. 348 at 1.

       On February 10, 2025, the Campaign Entity Defendants produced documents from the ac-

counts payable inbox. Plaintiffs reviewed this production and sent a deficiency letter to the Cam-

paign Entity Defendants on February 27, 2025 requesting more information about invoices for

payments and services that appear in the Campaign Entity Defendants’ disclosures filed with the

Federal Election Commission, which did not appear in their production. Discussions are ongoing.

       On March 6, 2025, the Campaign Entity Defendants produced documents responsive to the

additional search terms and custodians Plaintiffs requested. Plaintiffs are reviewing this production

and will raise any further issues with the Campaign Entity Defendants.

       On March 7, 2025, the Campaign Entity Defendants provided a supplement to their privi-

lege log generally describing the legal services that the individuals named on the privilege log

provided to the Campaign Entity Defendants. Plaintiffs find these responses unsatisfactory and

will continue to discuss the issue with the Campaign Entity Defendants.

       B.      Defendants’ Discovery Requests

               1.      Campaign Entity Defendants’ Position

       Over the course of discovery, Plaintiffs have produced very few medical records, and the

Campaign Entity Defendants intend to engage with plaintiffs’ counsel regarding the use of HIPAA

releases to allow defense counsel to go directly to the medical providers for responsive medical


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records. The Campaign Entity Defendants also believe that Plaintiffs’ identification of damages

remains deficient, failing to provide a description or sum of their damages, and the parties will

meet and confer over this issue to determine whether court intervention is required.

       Finally, at the deposition of Conrad Smith on March 3, 2025—the first of the Plaintiffs to

be deposed—it was discovered that his work phone and work email account were not searched for

responsive documents by Plaintiffs’ counsel, and upon conferring with Plaintiffs’ counsel, it ap-

pears that none of the Plaintiffs’ work devices or email accounts were searched or preserved by

Plaintiffs’ counsel. Plaintiffs’ counsel indicated that they would be looking into this issue but the

Campaign Entity Defendants have received no supplement or follow-up. This may raise serious

spoliation concerns, given that the Plaintiffs have likely had their devices replaced over the course

of 3.5 years of litigation, potentially destroying relevant text messages and other documents. Some

of the Plaintiffs have retired from USCP since initiating this litigation, which would mean that not

only their work devices, but also their email accounts are likely unrecoverable. The parties will

meet and confer over this issue to determine if court intervention is required.

               2.      Plaintiffs’ Position

       Plaintiffs have made eight productions of documents to Defendants on August 1, 2023,

September 21, 2023, October 19, 2023, December 4, 2023, February 26, 2024, July 3, 2024, De-

cember 18, 2024, and January 17, 2025. Plaintiffs reached substantial completion of custodial doc-

uments on July 3, 2024. Plaintiffs’ productions included over 4,200 pages of medical records.

Rather than raising the issue of HIPAA disclosures to Plaintiffs and offering to meet and confer,

the Campaign Entity Defendants raised this issue for the first time on March 19, 2025 in the course

of drafting this report. Plaintiffs are happy to meet and confer on this issue and do not believe there

is anything for the Court to address at this time.




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       The Campaign Entity Defendants issued additional requests for production and interroga-

tories on January 14, 2025. Plaintiffs responded to these requests and interrogatories on February

20, 2025. As Plaintiffs noted in their responses to the Campaign Entity Defendants’ additional

requests for production, they are conducting additional searches of their records. Additionally,

Plaintiffs explained in a letter to the Campaign Entity Defendants on February 20, 2025, that Plain-

tiffs’ responses and productions thus far have included information about their physical and emo-

tional injuries, which will be further supported by Plaintiffs’ deposition testimony and expert re-

ports. Instead of responding to Plaintiffs’ letter or attempting to meet and confer with Plaintiffs

regarding this issue, the Campaign Entity Defendants chose to raise this directly with the Court

through this report. Plaintiffs are happy to meet and confer on this issue and do not believe there

is anything for the Court to address at this time.

       Plaintiffs are considering the issue of producing work phones and emails. At the deposition

of Conrad Smith on March 3, 2025, the Campaign Entity Defendants indicated that they would

follow up with Plaintiffs’ counsel to meet and confer on this issue. The Campaign Entity Defend-

ants failed to do so at any time prior to March 19, 2025 when they raised it in the course of drafting

this status report. Plaintiffs are happy to meet and confer on this issue and do not believe there is

anything for the Court to address at this time.

II.    Plaintiffs’ Third-Party Discovery

       A.      Enforcement Actions

       Plaintiffs have commenced proceedings to compel Rudolph Giuliani, Caroline Wren, and

Daniel Scavino, Jr. to comply with Plaintiffs’ discovery requests. See Smith, et al. v. Giuliani,

1:24-mc-00351 (S.D.N.Y.); Smith, et al. v. Wren, 9:24-mc-81074 (S.D. Fla.); Smith, et al. v.

Scavino, 7:24-mc-00566 (S.D.N.Y.). The motions regarding Mr. Giuliani and Ms. Wren remain




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pending and Plaintiffs will update the Court when any further proceedings occur, or any decisions

are made.

       The court in Smith, et al. v. Scavino originally scheduled a pre-motion conference for Feb-

ruary 6, 2025. See 7:24-mc-00566, ECF No. 6. On February 5, 2025, Plaintiffs learned that Mr.

Scavino retained new counsel and he would be producing documents in response to Plaintiffs’

subpoena. See id. ECF No. 13. Mr. Scavino made a production on February 19, 2025 and Plaintiffs

continue to discuss the productions parameters with him. See id. ECF No. 16, 18. In light of this

ongoing cooperation, the parties have requested, and the court has granted, several adjournments

to the pre-motion conference, which is now scheduled for April 8, 2025. See id. ECF Nos. 14, 17,

19.

       B.      National Archives and Records Administration

       On September 3, 2024, the Court granted Plaintiffs’ Motion for a Final Order Issuing a

Subpoena to the National Archives and Records Administration (“NARA”) and ordered NARA to

respond to Plaintiffs’ subpoena. See ECF No. 324. On November 21, NARA confirmed they had

sent their first notification of potentially responsive records to relevant former and incumbent pres-

idents. NARA later informed Plaintiffs that on January 3, 2025, that Defendant Trump had re-

quested a three-week extension to respond to NARA regarding producing documents. On February

3, 2025, Plaintiffs asked NARA for a production update and NARA responded on February 5,

2025 that because President Joseph Biden did not respond to NARA’s review request before leav-

ing office, Defendant Trump’s White House counsel was now charged with reviewing the produc-

tion and had 30 days to do so. On March 13, 2025, NARA informed Plaintiffs that Defendant

Trump’s White House counsel extended their review period by 30 days.




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        C.      Trump Entity Defendants’ Third-Party Discovery Requests

        To date there remain several outstanding Touhy requests for which the United States At-

torney’s Office for the District of Columbia (“D.C. USAO”) is responsible, including but not lim-

ited to the United States Capitol Police; the Departments of Interior, Justice, and Defense; and the

D.C. National Guard. The Campaign Entity Defendants have engaged with the D.C. USAO, in-

cluding letters and several meetings to negotiate their initial position. As to the Department of the

Interior, a production has been made that appears to resolve the requests. As to the other requests,

particularly the request to the United States Capitol Police, the Campaign Entity Defendants intend

to confer with Plaintiffs’ counsel and the D.C. USAO again regarding these requests, but currently

a reasonable agreement appears unlikely. Therefore, there may be an impasse reached soon requir-

ing court intervention.

III.    Depositions

        Plaintiffs and the Campaign Entity Defendants have agreed to have no limit on party dep-

ositions and a limit of 20 third-party depositions each with the right to request more as needed.

Plaintiffs are drafting a proposal for all parties to review. Once there is agreement, the parties will

file a proposed order with the Court.

        Plaintiffs began noticing party and third-party depositions in November 2024. Plaintiffs

have noticed depositions for Defendants Meggs, Caldwell, Rehl, Tarrio, and Biggs, and third-par-

ties Kimberly Guilfoyle, Donald J. Trump Jr., Eric Trump, Jason Miller, Mark Meadows, and

Daniel Scavino Jr. The Campaign Entity Defendants noticed Plaintiffs’ depositions for the follow-

ing dates:

        •    Governor Latson: April 3, 2025;

        •    Melissa Marshall: April 8, 2025;

        •    Jason DeRoche: April 9, 2025;


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 •   Reginald Cleveland: April 24, 2025;

 •   Michael Fortune: May 2, 2025;

 •   Danny McElroy: May 9, 2025.

 Conrad Smith’s deposition occurred on March 3, 2025.




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Dated: March 20, 2025                   Respectfully submitted,


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                                 CERTIFICATE OF SERVICE

       I certify that on March 20, 2025, I served a copy of the foregoing filing on all parties of

record by filing it with the Clerk of the Court through the CM/ECF system, which will provide

electronic notice to all attorneys of record. Plaintiffs are serving the remaining Defendants via first

class mail or other permitted means.

 Dated: March 20, 2025                        By:             /s/   Joshua S. Margolin
                                                                    Joshua S. Margolin




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